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                                                                                           RECEIvED
          FILED                              UNITED STATES DISTRICT COURT                      AUG   31   2022
   September 01, 2022                        FORTHE DISTRICT OF COLUMBIA
   CLERK, U.S. DISTRICT COURT                                                              Clerk, U.S. District and
   WESTERN DISTRICT OF TEXAS                                                                 BankruPtcY Corjrts
                                                    Holding a Criminal Term
                  JF
BY: ________________________________
                        DEPUTY
                                            Grand Jury Sworn in on January 8, 2021
                                                                                     Austin case 1:22-MJ-743-DH
             UNITED STATES OF AMERICA                               CRIMINAL NO.

                                                                    \{IOLATIONS:

             KELLYE SORELLE,                                        COUNT 1:
                                                                    18 u.S.C. $ lsl2(k)
                                       Defendant.                   (Conspiracy   to Obstruct an        Official
                                                                    Proceeding)

                                                                    COUNT 2:
                                                                    l8 u.s.C. $$ ls12(c)(2),2
                                                                    (Obstruction of an Offrcial Proceeding and
                                                                    Aiding and Abetting)

                                                                    COUNT 3:
                                                                    l8 U.s.c. $ l7s2(a)(1)
                                                                    (Entering and Remaining in a Restricted
                                                                    Building or Grounds)

                                                                    COIINT 4:
                                                                    18 u.s.c. $ 1s12(bx2)(A)-(B)
                                                                    (Obstruction of Justice-Tampering with
                                                                    Documents)

                                                        INDICTMENT

                     The Grand Jury charges that:
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                                                COUNT ONE
                                          (18 U.S.C. S ls12(k))
                             (Conspiracy to Obstruct an Official Proceeding)

           From in and around December 2020, through in and around Jaruary 2021, in the District

of   Columbia and elsewhere, KELLYE SORELLE                          did knowingly combine,      conspire,

confederate, and agree with other persons known and unknown to the Grand Jury, to comlptly

obstruct, influence, and impede an official proceeding, that is, Congress's certification of the

Electoral College vote as set out in the Twelfth Amendment of the Constitution of the United

States and 3 U.S.C. $$ 15-18, in violation of       Title   18, United States Code, Section 1512(c)(2).

                        (In violation of Title 1 8, United States Code, Section 1512(k)


                                               COUNTTWO

                    (obstruction          3?oY;i;!;::i'J:fll?ilding          and Abetting)
                                   ",,.
           On or about January 6, 2021 , within the District of Columbia and elsewhere, KELLYE

SORELLE attempted to, and did, corruptly obstruct, influence, and impede an official proceeding,

that is,   a   proceeding before Congress, specifically, Congress's certification ofthe Electoral College

vote as set out in the Twelfth Amendment of the Constitution of the United States and 3 U.S.C.

S$ 15- 18, and did aid and abet others known and unknown to the Grand Jury to do the same.

                     (In violation ofTitle 18. United States Code, Sections 1512(c)(2),2)
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                                         COUNT THREF]
                                      (18 U.s.C. $ 17s2(a)(1))
                                (Restricted Building or Grounds)

       On or about January 6, 2021, tn the District of Columbia, KELLYE SORELLE did

knowingly enter and remain in a restricted building and grounds, that is, any posted, cordoned-off,

and otherwise restricted area within the United States Capitol and its grounds, where the Vice

President was temporarily visiting, without lawflrl authority to do so.

                 (ln violation of Title 18, United States Code, Section 1752(a)(1))


                                       COUNT FOUR
                               (r8 u.s.c. s 1s12(b)(2)(A)-(B))
                    (Obstruction of Justice-Tampering with Documents)

       On or about January 7, 2021, in the District of Columbia and elsewhere, KELLYE

SORELLE did comrptly persuade and attempt to corruptiy persuade other persons with intent to

cause and induce such persons     to (A) withhold records, documents, and other objects from an

official proceeding, that is, the Grand Jury investigation into the attack on the United States Capitol

on January 6,2021, and (B) alter, destroy, mutilate, and conceal objects with intent to impair the

objects' integrity and availability for use in such a Grand Jury investigation.

             (In violation of Title 18, United States Code, Section   1   5   12(b)(2XA)-(B))

                                               A TRUE BILL:


                                               FOREPERSON.




                          &^*1*
MATTHEW M. GRAVES
ATTORNEY FOR THE L]NITED STATES
IN AND FOR THE DISTRICT OF COLUMBIA
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